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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                         Plaintiff,            )
                                               )
                   v.                          )         CR 21-540-SB
                                               )
Paul O. Paradis,                               )
                                               )
                        Defendant.             )



                                DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on February 29, 2024

and ending on March 29, 2024. (See, Attachment 1). Attachment 1 consists of a copy of the notice

on the www.forfeiture.gov website. Attachment 2 is a copy of the Advertisement Certification

Report, which documents that the notice was posted on the www.forfeiture.gov website for at

least 18 hours a day for the required 30 consecutive days.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

April 1, 2024, at Los Angeles, CA.

                                             ______________________________

                                               Mariah Moseley Raya-Ward
                                               Records Examiner
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Attachment 1


                       UNITED STATES DISTRICT COURT
          FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
           COURT CASE NUMBER: CR 21-540-SB; NOTICE OF FORFEITURE

      Notice is hereby given that on June 27, 2023, in the case of U.S. v. Paul O.
Paradis, Court Case Number CR 21-540-SB, the United States District Court for the
Central District of California entered an Order condemning and forfeiting the following
property to the United States of America:

      Miscellaneous Electronic Equipment Ser No: See Items List (19-FBI-009280),
      including the following items: 1 Black Dell Precision 7530 laptop, Ser No: 9Y3ZLQ2;
      1 Black Dell Precision 5530 laptop, Ser No: 2DLMTT2; 1 Black Dell Precision 5530
      laptop, Ser No: G687HRR; 1 Black Dell Precision 7530 laptop, Ser No: 5THHTT2; 1
      Raseberry Pi Navy miniature computer; 1 Sandisk 4 GB thumb drive; 1 Black Dell
      Precision 7530 laptop, Ser No: 48P3MQ2; 1 Black Dell Precision 7530 laptop, Ser
      No: G02DPQ2; 1 MicroCenter 32 GB thumb drive; 1 Black Dell Precision 7530
      laptop, Ser No: FKDHTT2; 1 Black Dell Precision 7530 laptop, Ser No: F7Q5PQ2; 1
      Silver Microsoft Surface Pro, Ser No: 005112584953; 1 Black Dell Precision 7530
      laptop, Ser No: 9413PQ2; 1 Samsung SM T830 tablet, Ser No: R52KC1C35ZN; 1
      Lacie external hard drive enclosure containing Seagate 4 TB hard drive and
      Seagate 4 TB hard drive, Ser No: ZC16WBMY; ZC16W4TV; 1 Black Dell Precision
      5530 laptop, Ser No: 24Y9TT2; 1 Black Dell Precision 7530 laptop, Ser No:
      2SMHTT2; 1 Black Dell Precision 7530 laptop, Ser No: CS0VLQ2; 1 Intel SSD, Ser
      No: PHDV7474008E960FGN; 1 Black Dell Precision 7530 laptop w/ stickers, Ser
      No: GYN2PQ2; 1 Black Dell Precision 7530 laptop, Ser No: DX8HTT2; 1 Black Dell
      Precision 5530 laptop, Ser No: 5T2BHR2; 1 Intel portable drive, Ser No:
      BTDN81500081H; 1 FLIRC silver portable computer; 1 Sandisk thumb drive; 1
      Black Dell Precision 5530 laptop with note on top "Bios & Admin Tracert 101", Ser
      No: 41Y9TT2; 1 Intel NUC, Ser No: BTDN825001R4; 1 102i6, Ser No:
      10D3E5001B190201EOM; 1 Black Dell laptop, Ser No: BDP3MQ2; 1 Seagate
      portable hard drive, Ser No: Z1D9V672; 1 Seagate hard drive, Ser No: Z1D9VBBR;
      1 WD hard drive 1.01 B, Ser No: WCC158079861; 1 Western Digital My Passport
      SSD1TB, Ser No: 181551421216; 1 Black Sandisk thumb drive; 1 Black Dell laptop,
      Ser No: JHK3PQ2; 1 Samsung 32 GB thumb drive; 1 Black Dell laptop, Ser No:
      3W32LQ2; 1 Synology network storage device, Ser No: 1910PXN052500; 1 Dell
      ProLient DL380 Gen 9, Ser No: MXQ65100LR; 1 Dell ProLient DL380 Gen 10, Ser
      No: 2M2825042R; 1 Western Digital 1TB HDD containing saves as of open
      documents found on laptops in Room C and Room H, Ser No: WCC6Y1CXJVV5; 1
      Black Sandisk thumb drive; 1 Micro 4 GB and adapter which was seized from Paul
      O. Paradis on July 22, 2019 at 221 N. Figueroa St., 9th Floor, Ste. 910, located in
      Los Angeles, CA

      Miscellaneous Electronic Equipment Ser No: unknown (20-FBI-008424), including
      the following items: 1 Black box containing three Cisco servers HX 220cM5 and
      power unit, Ser No: FD022392BWN (power unit); 1 Black box containing three
      Cisco servers HX 220cM5 and power unit, Ser No: FD022392BKB (power unit); 1
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     HPE Power Unit, model NMBLA0021200, Ser No: 5UM825000P; 2 Cisco servers,
     model D538792 with multiple hard drives, Ser No: WZP223712XT; WZP223712XC;
     2 Cisco servers with multiple hard drives, Ser No: WZP22370WRV;
     WZP223712XP; 2 Cisco servers with multiple hard drives, Ser No: WZP223900LM;
     WZP22370WQN; 1 Router of networking components (Cisco) Network Hub, Ser
     No: F0X2234PFPR; 1 Cisco UCS S3160, Ser No: F0X2229PF07; 1 Brown box of
     cables and miscellaneous items; 1 Cisco UCS S3260, Ser No: F0X2229P5KL; 1
     Cisco server, model 240cM5, Ser No: WZP223712XD; 1 Cisco server, model
     240cM5, Ser No: WZP223712XF; 1 Cisco 2900 Router, model 2911, Ser No:
     FTX16?AKDS; 1 Cisco 2900 Router, model 2911, Ser No: FTX1?8AM3T; 1 Cisco
     Router, model 2911, Ser No: FTX1512AK5P; 1 Cisco Router, model 2911, Ser No:
     FTX161?M3Z; 1 small brown box of cables; 1 Small brown box with 10 smaller
     boxes of HP cables; 1 Brown box with fiber optic cables and components; 1 brown
     box with cables, fiber optic cables and components; 1 Brown box of cables and
     straps; 1 Brown box with small computer intel and hardware, Ser No:
     BTDN825001AJ; 1 Cisco network hub, Ser No: F0X2234959Y; 1 Cisco UCS S3260,
     Ser No: F2229P2W6; 1 Cisco HX 240cM5 server, Ser No: WZP22371DC9; 1 Cisco
     HX 240cM5 server, Ser No: WZP223910LU; 1 HP server, model DL380 Gen 10,
     Ser No: 2M2825042Q; 1 Cisco server HX 240cM5, Ser No: WZP223712WY; 1
     Cisco server HX240cM5, Ser No: WZP22370WS4; 1 HP server, model DL380 Gen
     10, Ser No: 2M2825042S; 1 Cisco UCS, model C220M5, Ser No: WZP223712NY;
     1 Cisco catalyst 2560G, Ser No: F0C1039Y0RV; 1 Cisco Catalyst 3560G, Ser No:
     F0C1312Z0WB; 1 Cisco catalyst 3560G, Ser No: F0C1210Y3N7; 1 Cisco catalyst
     3560G, Ser No: F0C1215Y1DX; 1 Cisco ASA5526X Adaptive security appliance,
     Ser No: FGL180740YL; 1 HP Aruba Network Device, model 2930F, Ser No:
     CN75HKX1DF; 1 FD Ultra Fiber enclosure with 4 components inside MTP-12,
     model FHX-1UFSP; 1 FD Ultra Fiber enclosure with 4 MTP-12 components inside,
     model FHX-1UFSP; 1 Cisco switch, model SG350-10, Ser No: PSZ224319CM; 1
     Cisco switch, model MDS91485, Ser No: 2M522000G9; 1 Cisco switch, model
     MDS91485, Ser No: TTM22170765; 2M522000X0; 1 Cisco Model
     UCS-FI-6332-16UP; 1 Cisco Nexus network, model 3172TQ, Ser No:
     F0C2224R0N0; 1 Cisco Adaptive security appliance, model CASA 5525-X, Ser No:
     FTX2128W09B; 1 HP Aruba Network Device, model 2930F, Ser No:
     CN72HKW0GK; 1 HP Aruba Network Device, model 2930F, Ser No:
     CN72HKW10P; 1 FS Ultra Fiber enclosure with 4 MTP-12 components Model
     FHX-1UFSP; 1 FS Ultra Fiber enclosure with 2 MTP-12 components Model
     FHX-1UFSP; 1 Large brown box with cables and hardware; 1 Cisco Network
     module, model #'s C9300NM3X and catalyst 9300, Ser No: FCW2231L18M; 1
     Cisco Network Module, model #'s C9300 NM3X and catalyst 9300, Ser No:
     FCW2231L15G; 1 Cisco Network, model ASR1002-HX, Ser No: FXS2231Q4HG; 1
     Cisco Network, model FPR2130, Ser No: JAD220806JE; JMX2215Y059; 1 Cisco
     Network, model FPR 2130, Ser No: JMX2221Y006; JAD221600TD; 1 Software
     technologies checkpoint firewall, model PB-20, Ser No: 1732BA5690; 1 Software
     technologies checkpoint firewall, model PB-20, Ser No: 1732BA5692; 1 Cisco
     Nexus 3172TQ, Ser No: FOC2223R2EL; 1 1 Cisco Model UCS-FI-6332; 2 APC
     Rack Power Unit; 1 Brown box of fiber optic cables and components which was
     seized from Paul O. Paradis on June 01, 2020 at                        ., located in
     Rancho Mirage, CA
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       $44,425.33 in Funds Acct# 00000 (23-FBI-008848) held for the benefit of Paul O.
       Paradis on deposit in the Winston & Strawn LLP client trust account.

       The custodian of the property is the Federal Bureau of Investigation located at
       11000 Wilshire Boulevard, Suite 1700, Los Angeles, CA 90024.

       The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (February 29, 2024) of
this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition
must be filed with the Clerk of the Court, 255 East Temple Street, Room 180, Los Angeles,
CA 90012, and a copy served upon Assistant United States Attorney Jonathan Galatzan,
312 N. Spring St., 11th Floor, Los Angeles, CA 90012. The ancillary petition shall be
signed by the petitioner under penalty of perjury and shall set forth the nature and extent
of the petitioner's right, title or interest in the forfeited property, the time and circumstances
of the petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Jonathan Galatzan, 312 N. Spring St., 11th Floor, Los Angeles, CA 90012. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
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